 United States Marshals Service                                                           See "Instructionsfor Service oJProcess by U.S. Marshal"
                    Case: 1:25-cv-00130-DAR Doc #: 1-4 Filed: 01/22/25 1 of 4. PageID #: 23
    ~~             C+ Zen"\
   PLA       1FF                                                  v


   DEFENDANT
                                                                                                         2:2             TYPE OF PROCESS                j v'          -'r i0v)

       Cc1~ Q.V\oO                                  3       \
          CCJ)          1 'AME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OF CONDEMN
       §E1V1             \X5 W , bra 5 a c eer r ✓~tCk                   o k? (D
             AT         ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
                                                                  Lt u 9 OC~U\ (,OAvlht ( &st
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number ofprocess to be
                                                                                                                    served with this Form 185

                   Tcflrc -F°ov&al                                             ,eN17 e1r
                                                                                                                    Number of parties to be
                                                                                                                    served in this case

                                                                                                                    Check for service
                                                                                                                    on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (9~f $p~seferrss                                        ~ltxr     ~dl~dr1tssRs,
       Al! Telephone Naasbers, and Estivaeted Times 4voi ablefor Service):
Fold                                                                                                                                                                       Fold




   Signature of Attorney other Originator requesting service on behalf of:                ❑ PLAINTIFF            TELEPHONE NUMBER                   DATE

                                                                                          ❑ DEFENDANT

        §PACE BELOW IF®I USE OF U.S. M.ARSIHIAL (I)NLY= 1 O N I)T WRiE IEL®W Tills IL LIME
   I acknowledge receipt for the total     Total Process   District of      District to       Signature of Authorized USMS Deputy or Clerk                     Date
   number of process indicated.                            Origin           Serve
   (Sign only for USM 265 if more
   than one USM265 is submitted)                           No.              No.

   I hereby certify and return that 1 ❑ have personally served , ❑ have legal evidence of service, ❑ have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

   ❑      I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (ifnot shown above)                                                                 ❑    A person of suitable age and discretion
                                                                                                                                then residing in defendant's usual place
                                                                                                                                of abode
   Address (complete only di erent i/ian shown above)                                                                      Date                   Time
                                                                                                                                                                          ❑ am
                                                                                                                                                                          ❑ pm

                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee           Total Mileage Charges Forwarding Fee            Total Charges        Advance Deposits     Amount owed to U.S. Marshal° or
                         including endeavors)                                                                      (Amount of Refund°)



   REMARKS:




                            I. CLERK OF THE COURT                                                                                       PRIOR EDITIONS MAY BE USED
                            2. USMS RECORD
                            3. NOTICE OF SERVICE
                            4. BILLING STATEMENT°: To be returned to the U.S. Marshal with payment,                                                               Form USM-285
                               if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                Rev. 12115180
                            5. ACKNOWLEDGMENT OF RECEIPT                                                                                                         Automated 01100
Case: 1:25-cv-00130-DAR Doc #: 1-4 Filed: 01/22/25 2 of 4. PageID #: 24
11NSTI~UCTFONS 1FOl EW VFCCI OF FII~OCIFSS l Y U.S. MA1 SF1IAL

Please type or print legibly, insuring readability of all copies. DO NOT iI)ETACH ANY
COPIES. Submit one complete set of this form (USM-283) and one copy of each writ for each
individual, co tpany, corporation, etc., to be served or property to be seized or condemned. The
applicable fees for such service(s) (T28, USC Sec. 1921 establishes a fees for service of
process by the U.S. Marshal) may be required prior to said service.

For service of any process upon an officer or agent of the United States Government, submit a
copy of the writ and a set of Form USM-283 for each officer or agent upo:c whom service is
desired. Submit three (3) additional copies of the writs for service upon the Government of the
United States. The U.S. Marshal will serve one (1) upon the U.S. Attorney rd will forward two
(2) to the Attorney General of the United States. (When the applicable box is checked,
completion of the final signature block by the U.S. Marshal or his Deputy always certifies
service on the U.S. Attorney and the Attorney General, regardless of whether other defendants
on the writ were served.) Failure to provide any of the copies will delay service of the writ.

Complete .:11 entries above the double line. Mark all applicable check boxes and use the "Special
Instructions" to advise of any information that will assist :'"c U.S. Marshal in expediting service.

If more than one writ and USM-285 is submitted on a single case, the U.S. Marshal will receipt
for all of them on the first USM-283. You will receive for your records the last (No. 3)
"Aclmowled a:,tent of Receipt" copy for all the USM-283 forms you submit. When the writ is
served, you will receive the No. 3 Notice of Service copy. This copy will be identical to the
return to the Clerk of the Court.

Upon completion of all services (if the Marshals fees were not requested or tendered in advance
or if additional fees are indicated), you will receive a "Billing Statement" (copy 4 of USM-283)
from the United States Marshal. (NOTE: Copy 4 should be returned, by you, to the U.S.
Marshal, together with your payment of the amount owed.

Additional supplies of the USM-283 may be obtained from the Clerk of the U.S. IIistrict Court
or U.S. Marshal, without cost.
  United States Marshals Service                                                          See "Instructions for Service of Process by U.S. Marshal"
                    Case: 1:25-cv-00130-DAR Doc #: 1-4 Filed: 01/22/25 3 of 4. PageID #: 25
                                  oR Pwpiy
   PLAINTIF                                                                                                             CO        T
                                                                                                                        a

   DEFENDANT
                                                                                                                                        E

                                                                                                                                  OF PROCESS C~
                                                                                                                                                V

                                                                                                                                                      V~)`
                                                                                                                                                               0,5
                                                                                                                                                       / 1 G4cf(Qj
                ~i ee, i L
                           NAME OF INDIVIDU         COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN


                           ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

                                                           1                                                ~O
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
                                                                                                                    served with this Form 285


                                                                                                                    Number of parties to be
                      t'          \ S,                                    o~° + Q o                                 served in this case


                                                                                                                    Check for service
                                                                                                                    on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (JIs clue stsirwss tan AltRrreate_AIdr,sssrs,
       A11 Telepfsorte Nyrs&evs, rand IBsterd®ted TStnes 4vaailabk for Service):
Fold                                                                                                                                                                  Fold




   Signature of Attorney other Originator requesting service on behalf of:                ❑ PLAINTIFF            TELEPHONE NUMBER                    DATE

                                                                                          ❑ DEFENDANT

        §PACJ 13EL©W FOR UPI OT' Uo~0                                   ,IP~IHIAL ONLY 1O NOT W1 ITE 1& LOW TIBIAS LIIN1
   ➢ acknowledge receipt for the total      Total Process District of       District to       Signature of Authorized USMS Deputy or Clerk                  Date
   number of process indicated.                           Origin            Serve
   (Sign only for USM 285 i,f more
   than one USM285 is submitted)                           No.             No.

   I hereby certify and return that I ❑ have personally served , ❑ have legal evidence of service, ❑ have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted blow.

   ❑      I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if not shown above)                                                               ❑    A person of suitable age and discretion
                                                                                                                               then residing in defendant's usual place
                                                                                                                               of abode
   Address (complete only different than shown above)                                                                      Date                     Time
                                                                                                                                                                    ❑ aln
                                                                                                                                                                    ❑ pm

                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee              Total Mileage Charges Forwarding Fee        Total Charges         Advance Deposits     Amount owed to U.S. Marshal' or
                            including endeavors)                                                                   (Amouru of Refund°)



   REMARKS:




        / J ; o,c,Q1rY1 J     I. CLERK OF THE COURT                                                                                     PRIOR EDITIONS MAY BE USED
                              2. USMS RECORD
                              3. NOTICE OF SERVICE
                              4. BILLING STATEMENT°: To be returned to the U.S. Marshal with payment,                                                          Form USM.285
                                 if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                           Rev. 12/15/80
                              5. ACKNOWLEDGMENT OF RECEIPT                                                                                                    Automated 01/00
Case: 1:25-cv-00130-DAR Doc #: 1-4 Filed: 01/22/25 4 of 4. PageID #: 26
I[~1~T1 UCCTI®N 1'®l 1F3VCIE (I)IF Fl OCE l~Y U M       AL

Please type or print legibly, ' .: caring readability of all copies. D® NOT DETAC ; ANY
COPIES. Submit one co:crplete set of this form (USM..283) and one copy of each writ for each
individual, co,nr:p.:. ny, co; iioration, etc., to be served or property to be seized or condemned. iie
applicable fees for such service(s) (T28, USC Sec. 1921 establishes the fees for service of
process by the U.S. Marshal) nay be required prior to said service.

For service of any process upon an officer or agent of the United States Government, submit a
copy of the writ d a set of Form USM-283 for each officer or agent upo:i whom service is
desired. Submit three (3) additional copies of the writs for service upon the Goverment of the
Unitc ii'. States. The U.S. Marshal will serve one (1) upon the U.S. Attorney -::nd will forw:.:rd two
(2) to the Attorney General of the United States. (When the applicable box is checked,
completion of the final signature block by the U.S. Marshal or his I) c Duty always certifies
service on ! re U.S. Attorney and the Attorney General, regardless of whether other defendants
on the writ were served.) Failure to provide any of the copies will delay service of Fi e writ.


Complete all entries above the double line. Mark all applicable check boxes and use the "Special
Instructions" to advise of any information that will assist t ce U.S. \Iarshal in expediting service.

If more than one writ and USM~283 is submitted on a single case, the U.S. Marshal will receipt
for all of them on the first USM~283. You will receive for your records c lie last (No. 3)
"Ac: owled ent of eceipt" copy for all the USMm283 forms you subnn.it. When the writ is
served, you will receive the No. 3 Notice of Service copy. This copy will be identical to the
return to the Clerk of the Court.

Upon completion of all services (if the Marshals fees were not requested or tendered in advance
or if additional fees are indicated), you will receive a "Billing Statement" (copy 4 of USM~283)
from the United States Marshal. (NOTE: Copy 4 should be returnc ~, by you, to the U.S.
Marshal, together with your payment of the amount ow

Additional supplies of the USM~283 may be obtained from the Clerk of the U.S. I)istrict Court
or U.S. M:: shal, win out cost.
